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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                    Case No. _________________ - Civ ____________________

SALLIE A. CUMMINGS,

       Plaintiff,

vs.

RUSHMORE LOAN MANAGEMENT
SERVICE, a foreign limited liability company,
and U.S. BANK, N.A., AS TRUSTEE FOR
RMAC TRUST, SERIES 2016-CTT,

      Defendant.
___________________________________/

                                  NOTICE OF REMOVAL


        Defendant, U.S. Bank, N.A., as Trustee for RMAC Trust, Series 2016-CTT, by and through

undersigned counsel, and pursuant to 28 U.S.C. §§ 1441 and 1446, hereby files this Notice of

Removal of a matter pending before the Circuit Court of the Fifth Judicial Circuit in and for

Hernando County, Florida, to the United States District Court for the Middle District of Florida,

and states as follows:

                              PROCEDURAL BACKGROUND

       1.       On April 28, Plaintiff, SALLIE A. CUMMINGS, (“Plaintiff” or “Cummings”)

commenced an action entitled Sallie A. Cummings v. Rushmore Loan Management Service, a

foreign limited liability company, and U.S. Bank, N.A., as Trustee for RMAC Trust, Series 2016-

CTT (“Defendant” or “U.S. Bank”), docketed as case number 2017-CC-000637, against U.S. Bank

which is currently pending in the Circuit Court of the Fifth Judicial Circuit in and for Hernando

County, Florida (the “State Action”). U.S. Bank was served with the Summons and Complaint on

June 9, 2017.

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        2.      Pursuant to 28 U.S.C. §1446 and Local Rule 7.2 of the Middle District of Florida,

true and correct copies of all process, pleadings, motions and orders in connection with the State

Action including Plaintiff’s Complaint that have been served upon or otherwise sent to U.S. Bank

are filed contemporaneously here with this Notice of Removal.

        3.      In its Complaint, Plaintiff alleges that Defendants have violated the Florida

Consumer Practices Act §559.72 (the “FCCPA”), the Fair Debt Collection Practices Act

(“FDCPA”) 15 U.S.C. § 1692a, et. seq., and the Telephone Consumer Protection Act (“TCPA”)

47 U.S.C. § 227, et. seq., based upon both telephone and written communications Defendants sent

to Plaintiff.

        4.      Since U.S. Bank was served with the Summons and Complaint from the State

Action on June 9, 2017, this Notice of Removal has been timely filed pursuant to 28 U.S.C. §

1446(b) as thirty days has not expired since Plaintiff’s service of its Summons and Complaint upon

U.S. Bank. See 28 U.S.C. § 1446(b).

                                JURISDICTION AND VENUE

        5.      This Court has jurisdiction over Plaintiff’s State Action and Complaint against

Rushmore under 28 U.S.C. § 1331(a)(1).

        6.      This case is subject to removal pursuant to 28 U.S.C. § 1441.

        7.      Venue is proper pursuant to ¶ 4 of the Plaintiff’s Complaint, which alleges that

Plaintiff is and was a resident of Hernando County, Florida. Further, the alleged conduct giving

rise to the Plaintiff’s action occurred in Hernando County, Florida. Pursuant to 28 U.S.C. §

1446(a), the United States District Court for the Middle District of Florida, Tampa Division is the

district and division in which the State Action is pending since Hernando County, Florida lies

within its jurisdiction. See 28 U.S.C. § 89(a).



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       8.      U.S. Bank will promptly serve notice of the filing of this Notice of Removal to all

parties of record in the State Action upon filing of the Notice of Removal with the Clerk of Court

for the Fifth Judicial Circuit in and for Hernando County, Florida pursuant to 28 U.S.C. § 1446(d).

                           BASIS FOR REMOVAL JURISDICTION

       9.      Pursuant to 28 U.S.C. § 1331, “[t]he district courts shall have original jurisdiction

of all civil actions arising under the Constitution, law, or treaties of the United States.”

       10.     Plaintiff has alleged in her Complaint that the Defendant has violated the FDCPA,

15 U.S.C. § 1692 et. seq., and the Telephone Consumer Protection Act (“TCPA”) 47 U.S.C. §

227, et. seq., based upon both telephone and written communications Defendant sent to Plaintiff.

       11.     Accordingly, U.S. Bank is entitled to remove the State Action to the U.S. District

Court for the Middle District of Florida.

       12.     U.S. Bank reserves the right to supplement this Notice of Removal and/or to present

additional arguments and exhibits in support of its entitlement to removal.

       13.     No admission of fact, law or liability is intended by this Notice of Removal and all

defenses, affirmative defenses, and motions are hereby reserved by U.S. Bank.

       WHEREFORE, Defendant, U.S. Bank, N.A., as Trustee for RMAC Trust, Series 2016-
CTT, respectfully requests that the above described State Action, currently pending in the Circuit
Court of the Fifth Judicial Circuit, Hernando County, Florida, be removed to the United States
District Court for the Middle District of Florida, Tampa Division.

       Dated: July 10, 2017.
                                               /s/ Melissa A. Giasi____________________
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